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                                                                                                                             CO 538
                                                                                                                          Rev. 5/2020



                UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                        FOR THE DISTRICT OF COLUMBIA
Hon. Bennie G. Thompson, et al.
         Plaintiff(s)

         vs.                                                                           Civil Action No.        1:21-cv-00400

Donald J. Trump, et. al.
         Defendant(s)



                                     AFFIDAVIT IN SUPPORT OF DEFAULT

         I hereby certify under penalty of perjury, this      20th     day of September ,        2021         , that I am the attorney
of record for the plaintiff in the above-entitled case; that the defendant(s)
Enrique Tarrio
was [were] (select one):
        ެ✔
                  personally served with process on    May 1, 2021                                        .

         ެ         served via registered or certified mail pursuant to provisions of Rule 4(C) of the Superior Court of the
                   District of Columbia on (date the return receipt was signed by addressee):                                       .

         ެ         served via First Class Mail pursuant to provisions of Rule 4(C) of the Federal Rules of Civil Procedure on
                   (date the Acknowledgment Form was signed by addressee):                                                    .

         ެ
         ✔         The authority for obtaining personal jurisdiction over the defendant served outside the District of Columbia
                   is: 29 USC Section 1132(e)                                      .

         I further certify under penalty of perjury that: no appearance has been entered by said defendant(s) in this case; no
pleading has been filed and none served upon the attorney for the plaintiff(s); (select one)
         ެ✔        no extension has been given and the time for filing has expired
         ެ         although an extension has been given, the time for filing has expired;
and the defendant is neither an infant nor an incompetent person.

         The Clerk is requested to enter a Default against said defendant(s).


                                                                                    Attorney for Plaintiff(s) [signature]
                                                                                  Joseph M. Sellers
                                                                                  Cohen Milstein Sellers & Toll PLLC
                                                                                   1100 New York Ave., N.W., Suite 500
                                                                                   Washington, D.C. 20005
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                                                                                    (202) 408-4600
Bar Id. Number                                                                    Name, Address and Telephone Number
